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  9

 10
                               UNITED STATES DISTRICT COURT
 11
                             CENTRAL DISTRICT OF CALIFORNIA
 12

 13
      DAMIAN RAFFELE,                        ) CASE NO. 8:18-cv-01727 JLS-DFM
 14                                          )
                                             ) DECLARATION OF JAMES R.
 15                               Plaintiff, ) HIGH, M.D.
 16
                                             )
            v.                               )
 17                                          )
                                             )
 18   VCA, INC.,                             )
                                             )
 19                                          )
                                  Defendant. )
 20                                          )
                                             )
 21

 22
                          DECLARATION OF JAMES R. HIGH, M.D.
 23
                 I, James R. High, M.D., do declare:
 24
                 1. I am a medical doctor licensed to practice in the state of California. I
 25
      make this declaration on personal knowledge. If called as a witness herein, I could
 26
      and would testify competently to the matters set forth below. I file this declaration in
 27

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  1   support of Defendant VCA, INC.’s Motion for an Independent Mental Examination
  2   of Plaintiff DAMIAN RAFFELE.
  3               2. I understand that the court requires my declaration as to the nature, scope
  4   and conditions of the mental examination of the proposed psychiatric examination of
  5   the Plaintiff DAMIAN RAFFELE (“Plaintiff”), which I believe would be necessary
  6   and sufficient for a thorough evaluation of Plaintiff’s claimed limitations and
  7   restrictions, as well as possible misattribution of his symptoms and claimed emotional
  8   distress.
  9               3. Based on my knowledge and training and also based on my experience
 10   in performing over 500 independent medical examinations, it is my professional
 11   opinion and also my customary standard and practice to perform a face-to-face
 12   psychiatric examination of Plaintiff when possible.
 13               4. My psychiatric examination portion generally takes an estimated three to
 14   four hours. It involves history taking and observation of the Plaintiff for the purpose
 15   of gathering information in specific areas. These include his or her demographic
 16   details, current complaints for which they might seek care, the history of their illness
 17   including their subjective experience of the events leading to psychiatric damages.
 18   Further history is obtained concerning the development of psychiatric and physical
 19   symptoms, what treatments they have received, and the effect of those treatments on
 20   their symptoms.
 21               5. In addition to the history of the incident and psychiatric damages at
 22   issue, I also gather important information about past psychiatric and medical illnesses
 23   and difficulties, and past behavioral difficulties. I also gather important
 24   developmental information concerning their family of origin, psychiatric and medical
 25   difficulties within that family, their educational background, their work history, and
 26   their social development history including information about marriages and children.
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  1            6. Concomitant with this examination, I am making observations and
  2   inquiries necessary for a full mental status evaluation of the patient, their moods, their
  3   thought processes, and thought content.
  4            7. Following my examination, the information gathering is continued by
  5   standard, validated series of psychological tests. This not only provides further
  6   information about the Plaintiff’s psychological damages, but also serves as a check
  7   on my subjective impressions. This test battery generally consists in three or more
  8   instruments proven to give reliable and valid information about a person’s mental
  9   state and difficulties. These are chosen from a group of tests including the Minnesota
 10   Multiphasic Personality Inventory-2-RF (MMPI-2-RF), Personality Assessment
 11   Inventory (PAI), Trauma Symptom Inventory-2 (TSI-2).
 12            8. The estimated time for completion of this part of the examination is also
 13   approximately three to four hours. It should be understood that these can only be
 14   estimates because the speed with which the Plaintiff is able to convey the information
 15   they need to fully explain their injurious experience and the speed with which they
 16   take the tests are primarily under their control. For instance, the range of time that
 17   Plaintiffs have needed to complete the MMPI in my experience has varied from 40
 18   minutes to 6 hours.
 19            9. No invasive or painful procedures will be utilized.
 20   ///
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 22   ///
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                                     2019,
